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                                                        SAN FRANCISCO DIVISION
                   23
                        RICHARD KADREY, et al.,                         Case No. 3:23-cv-03417-VC-TSH
                   24
                           Individual and Representative Plaintiffs,    PUBLIC REFILING OF MATERIALS
                   25                                                   PROVISIONALLY FILED UNDER SEAL IN
                               v.                                       CONNECTION WITH META’S
                   26                                                   ADMINISTRATIVE MOTIONS TO CONSIDER
                        META PLATFORMS, INC., a Delaware                WHETHER ANOTHER PARTY’S MATERIAL
                   27   corporation,                                    SHOULD BE SEALED [DKTS. 497, 544]
                                                                        PURSUANT TO ORDER OF MARCH 12, 2025
                   28                                   Defendant.      [DKT. 477]
COOLEY LLP
ATTORNEYS AT LAW                                                                           PUBLIC REFILING OF MATERIAL
                                                                                        RE MOTS. TO SEAL [DKTS. 497, 544]
                                                                                                  3:23-CV-03417-VC-TSH
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                    1          Pursuant to the Court’s March 12, 2025 Order (Dkt. 477), Meta Platforms, Inc. (“Meta”)
                    2   publicly refiles the following materials that were provisionally filed under seal in connection with
                    3   Meta’s Administrative Motions to Consider Whether Another Party’s Material Should Be Sealed
                    4   (Dkts. 497, 544) regarding documents filed in support of (1) Meta’s Motion for Partial Summary
                    5   Judgment and Opposition to Plaintiffs’ Motion for Partial Summary Judgment (Dkt. 489) (“Meta’s
                    6   MSJ”) and (2) Meta’s Reply in Support of its Motion for Partial Summary Judgment (Dkt. 543)
                    7   (“Meta’s Reply”).
                    8
                                                                    Document
                    9                            Ex. A – Ghajar Ex. 1 (Dkt. 490-1)
                   10                            Ex. B – Ghajar Ex. 2 (Dkt. 490-2)
                   11                            Ex. C – Ghajar Ex. 4 (Dkt. 490-4)
                                                 Ex. D – Ghajar Ex. 7 (Dkt. 490-7)
                   12
                                                 Ex. E – Ghajar Ex. 8 (Dkt. 490-8)
                   13
                                                 Ex. F – Ghajar Ex. 13 (Dkt. 490-13)
                   14                            Ex. G – Ghajar Ex. 14 (Dkt. 490-14)
                   15                            Ex. H – Ghajar Ex. 15 (Dkt. 490-15)
                   16                            Ex. I – Ghajar Ex. 16 (Dkt. 490-16)

                   17                            Ex. J – Ghajar Ex. 22 (Dkt. 490-22)
                                                 Ex. K – Declaration of Professor Michael
                   18                            Sinkinson, PhD. In Support of Meta’s Motion
                   19                            for Summary Judgment (Dkt. 544-9)
                                                 Ex. L – Ghajar Ex. 54 (Dkt. 544-7)
                   20
                               Meta maintains redactions to the narrowly tailored portions of Exhibit J that contain Meta’s
                   21
                        confidential information, as explained in Meta’s Administrative Motion to File Under Seal
                   22
                        (Dkt. 497) and accompanying Declaration of Michelle Woodhouse (Dkt. 497-1).
                   23
                               Meta maintains redactions to Exhibit K that contains third-party confidential information
                   24
                        for which the third party is a non-party to this litigation.      Meta takes no position on the
                   25
                        confidentiality of the redacted information as stated in Meta’s Administrative Motion to Consider
                   26
                        Whether Another Party’s Material Should Be Sealed, (Dkt. 544).
                   27

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COOLEY LLP
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                                                                                            RE MOTS. TO SEAL [DKTS. 497, 544]
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                                                                  2                    RE MOTS. TO SEAL [DKTS. 497, 544]
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